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                        1 Filed
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                    Doc1-1
                        1 Filed
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                    Doc1-1
                        1 Filed
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                        1 Filed
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                    Doc1-1
                        1 Filed
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                        1 Filed
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                        1 Filed
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                        1 Filed
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